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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                            *
        *       *       *      *       *       *       *      *       *      *       *

                                              ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Amend Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion is GRANTED and that the Defendant, with approval and assistance by Pretrial
 Services, be permitted to remove his ankle monitor for his MRI procedure scheduled on January
 23, 2024 at 8:15 a.m. at the Valley Health Winchester Outpatient Diagnostic Center.




        __________________                     ____________________________________
        Date                                   Honorable Amit P. Mehta
                                               United States District Court
